               Case 22-50073               Doc 1        Filed 02/15/22          Entered 02/15/22 20:26:52                 Page 1 of 14

 Fill in this information to identify your case:

     United States Bankruptcy Court for the:

     District of ConnecticutDistrict of ________
     ________________

     Case number (If known): _________________________ Chapter you are filing under:
                                                              Chapter 7
                                                             ✔ Chapter 11
                                                             
                                                              Chapter 12
                                                              Chapter 13                                                  Check if this is an
                                                                                                                              amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                          /

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Part 1:        Identify Yourself

                                         About Debtor 1:                                             About Debtor 2 (Spouse Only in a Joint Case):
1.     Your full name
       Write the name that is on your
       government-issued picture
                                         Ho Wan
                                         __________________________________________________          __________________________________________________
       identification (for example,      First name                                                  First name
       your driver’s license or          __________________________________________________          __________________________________________________
       passport).                        Middle name                                                 Middle name

       Bring your picture                Kwok
                                         __________________________________________________          __________________________________________________
       identification to your meeting    Last name                                                   Last name
       with the trustee.                 ___________________________                                 ___________________________
                                         Suffix (Sr., Jr., II, III)                                  Suffix (Sr., Jr., II, III)




2.     All other names you               Miles
                                         __________________________________________________          __________________________________________________
       have used in the last 8           First name                                                  First name
       years
                                         __________________________________________________          __________________________________________________
       Include your married or           Middle name                                                 Middle name
       maiden names.                     Kwok; Guo
                                         __________________________________________________          __________________________________________________
                                         Last name                                                   Last name

                                         Wengui
                                         __________________________________________________          __________________________________________________
                                         First name                                                  First name
                                         __________________________________________________          __________________________________________________
                                         Middle name                                                 Middle name
                                         Guo
                                         __________________________________________________          __________________________________________________
                                         Last name                                                   Last name




3.     Only the last 4 digits of
       your Social Security              xxx                9 ____
                                                   – xx – ____  5 ____
                                                                   9 ____
                                                                       5                            xxx    – xx – ____ ____ ____ ____
       number or federal                 OR                                                         OR
       Individual Taxpayer
       Identification number             9 xx – xx – ____ ____ ____ ____                            9 xx – xx – ____ ____ ____ ____
       (ITIN)

Official Form 101                                   Voluntary Petition for Individuals Filing for Bankruptcy                           page 1
              Case 22-50073                 Doc 1         Filed 02/15/22             Entered 02/15/22 20:26:52                  Page 2 of 14

Debtor 1        Ho   Wan                       Kwok
                _______________________________________________________                            Case number (if known)_____________________________________
                First Name   Middle Name             Last Name




                                           About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):


4.    Any business names
      and Employer                         ✔ I have not used any business names or EINs.
                                                                                                        I have not used any business names or EINs.
      Identification Numbers
      (EIN) you have used in               _________________________________________________            _________________________________________________
      the last 8 years                     Business name                                                Business name

      Include trade names and
                                           _________________________________________________            _________________________________________________
      doing business as names              Business name                                                Business name


                                           ___ ___ – ___ ___ ___ ___ ___ ___ ___                        ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                           EIN                                                          EIN

                                           ___ ___ – ___ ___ ___ ___ ___ ___ ___                        ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                           EIN                                                          EIN




5.    Where you live                                                                                    If Debtor 2 lives at a different address:


                                           c/o Golden Spring (New York) Ltd.
                                           _________________________________________________            _________________________________________________
                                           Number     Street                                            Number     Street


                                            162 East 64th Street
                                           _________________________________________________            _________________________________________________


                                            New York                        NY      10065
                                           _________________________________________________            _________________________________________________
                                           City                            State   ZIP Code             City                            State   ZIP Code

                                            New York
                                           _________________________________________________            _________________________________________________
                                           County                                                       County


                                           If your mailing address is different from the one            If Debtor 2’s mailing address is different from
                                           above, fill it in here. Note that the court will send        yours, fill it in here. Note that the court will send
                                           any notices to you at this mailing address.                  any notices to this mailing address.


                                           _________________________________________________            _________________________________________________
                                           Number     Street                                            Number     Street


                                           _________________________________________________            _________________________________________________
                                           P.O. Box                                                     P.O. Box


                                           _________________________________________________            _________________________________________________
                                           City                            State   ZIP Code             City                            State   ZIP Code




6.    Why you are choosing                 Check one:                                                   Check one:
      this district to file for            ✔ Over the last 180 days before filing this petition,
      bankruptcy                                                                                        Over the last 180 days before filing this petition,
                                              I have lived in this district longer than in any             I have lived in this district longer than in any
                                              other district.                                              other district.

                                            I have another reason. Explain.                             I have another reason. Explain.
                                              (See 28 U.S.C. § 1408.)                                      (See 28 U.S.C. § 1408.)
                                              ________________________________________                     ________________________________________
                                              ________________________________________                     ________________________________________
                                              ________________________________________                     ________________________________________
                                              ________________________________________                     ________________________________________



     Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                   page 2
              Case 22-50073                 Doc 1         Filed 02/15/22            Entered 02/15/22 20:26:52                   Page 3 of 14

Debtor 1        Ho   Wan                       Kwok
                _______________________________________________________                            Case number (if known)_____________________________________
                First Name   Middle Name             Last Name




Part 2:       Tell the Court About Your Bankruptcy Case


7.    The chapter of the                   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you                  for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file
      under
                                            Chapter 7
                                           
                                           ✔ Chapter 11
                                            Chapter 12
                                            Chapter 13

8.    How you will pay the fee             ✔ I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                           
                                              local court for more details about how you may pay. Typically, if you are paying the fee
                                              yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                              submitting your payment on your behalf, your attorney may pay with a credit card or check
                                              with a pre-printed address.

                                            I need to pay the fee in installments. If you choose this option, sign and attach the
                                              Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                            I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                              By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                              less than 150% of the official poverty line that applies to your family size and you are unable to
                                              pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                              Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for                   ✔ No
                                           
      bankruptcy within the
      last 8 years?                         Yes. District __________________________ When        _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY

                                                     District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY

                                                     District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY



10. Are any bankruptcy                     ✔ No
                                           
      cases pending or being
      filed by a spouse who is              Yes. Debtor _________________________________________________ Relationship to you         _____________________
      not filing this case with                      District __________________________ When     _______________ Case number, if known____________________
      you, or by a business                                                                       MM / DD / YYYY
      partner, or by an
      affiliate?
                                                     Debtor _________________________________________________ Relationship to you      _____________________

                                                     District __________________________ When     _______________ Case number, if known____________________
                                                                                                  MM / DD / YYYY



11. Do you rent your                       ✔ No. Go to line 12.
                                           
      residence?                            Yes. Has your landlord obtained an eviction judgment against you?
                                                      No. Go to line 12.
                                                      Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                         part of this bankruptcy petition.




     Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                   page 3
            Case 22-50073                       Doc 1         Filed 02/15/22           Entered 02/15/22 20:26:52                    Page 4 of 14

Debtor 1       Ho Wan                                     Kwok
              _______________________________________________________                                  Case number (if known)_____________________________________
               First Name        Middle Name             Last Name




Part 3:     Report About Any Businesses You Own as a Sole Proprietor


12. Are you a sole proprietor                  ✔ No. Go to Part 4.
                                               
    of any full- or part-time
    business?                                   Yes. Name and location of business
    A sole proprietorship is a
    business you operate as an                         _______________________________________________________________________________________
                                                       Name of business, if any
    individual, and is not a
    separate legal entity such as
    a corporation, partnership, or                     _______________________________________________________________________________________
                                                       Number    Street
    LLC.
    If you have more than one
                                                       _______________________________________________________________________________________
    sole proprietorship, use a
    separate sheet and attach it
    to this petition.                                  _______________________________________________         _______      __________________________
                                                        City                                                   State        ZIP Code


                                                       Check the appropriate box to describe your business:
                                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                        None of the above

13. Are you filing under                       If you are filing under Chapter 11, the court must know whether you are a small business debtorRUDGHEWRU
    Chapter 11 of the                         FKRRVLQJWRSURFHHGXQGHU6XEFKDSWHU9 so that it can set appropriate deadlines. If you indicate that you
    Bankruptcy Code and                      are a small business debtorRU\RXDUHFKRRVLQJWRSURFHHGXQGHU6XEFKDSWHU9, you must attach your
                                               most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
    are you a small business
                                               if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtorRUDGHEWRUDV
    GHILQHGE\86&                    No. I am not filing under Chapter 11.
      ?                                   ✔ No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
                                               
    For a definition of small                         the Bankruptcy Code.
    business debtor, see
    11 U.S.C. § 101(51D).
                                                <HV,DPILOLQJXQGHU&KDSWHU,DPDVPDOOEXVLQHVVGHEWRUDFFRUGLQJWRWKHGHILQLWLRQLQWKH%DQNUXSWF\
                                                       &RGHDQG,GRQRWFKRRVHWRSURFHHGXQGHU6XEFKDSWHU9RI&KDSWHU
                                                <HV,DPILOLQJXQGHU&KDSWHU,DPDGHEWRUDFFRUGLQJWRWKHGHILQLWLRQLQ  RIWKH
                                                       %DQNUXSWF\&RGHDQG,FKRRVHWRSURFHHGXQGHU6XEFKDSWHU9RI&KDSWHU




  Official Form 101                                      Voluntary Petition for Individuals Filing for Bankruptcy                                    page 4
            Case 22-50073                 Doc 1       Filed 02/15/22         Entered 02/15/22 20:26:52                  Page 5 of 14

Debtor 1      Ho Wan                              Kwok
              _______________________________________________________                       Case number (if known)_____________________________________
              First Name    Middle Name          Last Name




 Part 4:     Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


 14. Do you own or have any               ✔ No
                                          
     property that poses or is
     alleged to pose a threat              Yes. What is the hazard?     ________________________________________________________________________
     of imminent and
     identifiable hazard to                                              ________________________________________________________________________
     public health or safety?
     Or do you own any
     property that needs
                                                  If immediate attention is needed, why is it needed? _______________________________________________
     immediate attention?
     For example, do you own                                             ________________________________________________________________________
     perishable goods, or livestock
     that must be fed, or a building
     that needs urgent repairs?
                                                  Where is the property? ________________________________________________________________________
                                                                         Number        Street


                                                                         ________________________________________________________________________

                                                                         ________________________________________ _______        ____________________
                                                                         City                                     State          ZIP Code




  Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                              page 5
            Case 22-50073              Doc 1         Filed 02/15/22             Entered 02/15/22 20:26:52                       Page 6 of 14

Debtor 1       Ho Wan Middle Name                Kwok
              _______________________________________________________
              First Name                        Last Name
                                                                                                   Case number (if known)_____________________________________




Part 5:     Explain Your Efforts to Receive a Briefing About Credit Counseling

                                      About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether
   you have received a
   briefing about credit              You must check one:                                                You must check one:
   counseling.                        ✔ I received a briefing from an approved credit
                                                                                                         I received a briefing from an approved credit
                                         counseling agency within the 180 days before I                     counseling agency within the 180 days before I
    The law requires that you            filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
    receive a briefing about credit      certificate of completion.                                         certificate of completion.
    counseling before you file for
                                         Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
    bankruptcy. You must
                                         plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
    truthfully check one of the
    following choices. If you          I received a briefing from an approved credit                     I received a briefing from an approved credit
    cannot do so, you are not            counseling agency within the 180 days before I                     counseling agency within the 180 days before I
    eligible to file.                    filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                         certificate of completion.                                         certificate of completion.
    If you file anyway, the court
                                         Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
    can dismiss your case, you
                                         you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
    will lose whatever filing fee
                                         plan, if any.                                                      plan, if any.
    you paid, and your creditors
    can begin collection activities    I certify that I asked for credit counseling                      I certify that I asked for credit counseling
    again.                               services from an approved agency, but was                          services from an approved agency, but was
                                         unable to obtain those services during the 7                       unable to obtain those services during the 7
                                         days after I made my request, and exigent                          days after I made my request, and exigent
                                         circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                         of the requirement.                                                of the requirement.
                                         To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                         requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                         what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                         you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                         bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                                    required you to file this case.
                                         Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                         dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                         If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                         still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                         You must file a certificate from the approved                      You must file a certificate from the approved
                                         agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                         developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                         may be dismissed.                                                  may be dismissed.
                                         Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                         days.                                                              days.

                                       I am not required to receive a briefing about                     I am not required to receive a briefing about
                                         credit counseling because of:                                      credit counseling because of:

                                          Incapacity.      I have a mental illness or a mental              Incapacity.      I have a mental illness or a mental
                                                            deficiency that makes me                                           deficiency that makes me
                                                            incapable of realizing or making                                   incapable of realizing or making
                                                            rational decisions about finances.                                 rational decisions about finances.
                                          Disability.      My physical disability causes me                 Disability.      My physical disability causes me
                                                            to be unable to participate in a                                   to be unable to participate in a
                                                            briefing in person, by phone, or                                   briefing in person, by phone, or
                                                            through the internet, even after I                                 through the internet, even after I
                                                            reasonably tried to do so.                                         reasonably tried to do so.
                                          Active duty. I am currently on active military                    Active duty. I am currently on active military
                                                            duty in a military combat zone.                                    duty in a military combat zone.
                                         If you believe you are not required to receive a                   If you believe you are not required to receive a
                                         briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                         motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




  Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                         page 
           Case 22-50073                  Doc 1         Filed 02/15/22                Entered 02/15/22 20:26:52                   Page 7 of 14

Debtor 1      Ho Wan                                 Kwok
             _______________________________________________________                                  Case number (if known)_____________________________________
             First Name    Middle Name             Last Name




Part 6:    Answer These Questions for Reporting Purposes

                                         16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16. What kind of debts do                     as “incurred by an individual primarily for a personal, family, or household purpose.”
    you have?
                                              ✔ No. Go to line 16b.
                                              
                                               Yes. Go to line 17.
                                         16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                              money for a business or investment or through the operation of the business or investment.
                                              ✔ No. Go to line 16c.
                                              
                                               Yes. Go to line 17.
                                         16c. State the type of debts you owe that are not consumer debts or business debts.
                                              Litigation expenses, claims, and judgments
                                              _______________________________________________________________

17. Are you filing under
    Chapter 7?                           
                                         ✔ No. I am not filing under Chapter 7. Go to line 18.
    Do you estimate that after            Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                        administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and                                   No
    administrative expenses
    are paid that funds will be                    Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                 1-49                                      1,000-5,000                            25,001-50,000
    you estimate that you                ✔ 50-99
                                                                                    5,001-10,000                           50,001-100,000
    owe?                                  100-199                                   10,001-25,000                          More than 100,000
                                          200-999
19. How much do you                       $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
    estimate your assets to              ✔ $50,001-$100,000
                                                                                    $10,000,001-$50 million                $1,000,000,001-$10 billion
    be worth?                             $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                          $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
20. How much do you                       $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
   estimate your liabilities              $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
   to be?                                 $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                          $500,001-$1 million                      ✔ $100,000,001-$500 million
                                                                                                                            More than $50 billion
Part 7:    Sign Below

                                         I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                  correct.
                                         If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                         of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                         under Chapter 7.
                                         If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                         this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                         I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                         I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                         with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                         18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                         8 /s/ Ho Wan Kwok
                                            ______________________________________________               8_____________________________
                                            Signature of Debtor 1                                            Signature of Debtor 2

                                                        02/15/2022
                                            Executed on _________________                                    Executed on __________________
                                                               MM   / DD   / YYYY                                          MM / DD     / YYYY


  Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                       page 
           Case 22-50073                 Doc 1         Filed 02/15/22             Entered 02/15/22 20:26:52                          Page 8 of 14

Debtor 1     Ho Wan                                Kwok
             _______________________________________________________                               Case number (if known)_____________________________________
             First Name   Middle Name             Last Name




                                        I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are           to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                      available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                        the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented              knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                        8_________________________________
                                         /s/ William R. Baldiga                                             Date          _________________
                                                                                                                          02/15/2022
                                           Signature of Attorney for Debtor                                               MM     /     DD / YYYY




                                           William R. Baldiga
                                           _________________________________________________________________________________________________
                                           Printed name

                                           Brown Rudnick LLP
                                           _________________________________________________________________________________________________
                                           Firm name

                                           7 Times Square
                                           _________________________________________________________________________________________________
                                           Number Street

                                           _________________________________________________________________________________________________

                                           New York
                                           ______________________________________________________ NY
                                                                                                  ____________ 10036
                                                                                                               ______________________________
                                           City                                                   State        ZIP Code




                                                         (212) 209-4800
                                           Contact phone _____________________________________             Email address wbaldiga@brownrudnick.com
                                                                                                                          ______________________________




                                           4813846
                                           ______________________________________________________ NY
                                                                                                  ____________
                                           Bar number                                             State




  Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                         page 
           Case 22-50073                Doc 1         Filed 02/15/22             Entered 02/15/22 20:26:52                      Page 9 of 14

Debtor 1      Ho Wan                              Kwok
             _______________________________________________________                           Case number (if known)_____________________________________
             First Name   Middle Name            Last Name




For you if you are filing this           The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an                    should understand that many people find it extremely difficult to represent
attorney                                 themselves successfully. Because bankruptcy has long-term financial and legal
                                         consequences, you are strongly urged to hire a qualified attorney.
If you are represented by
an attorney, you do not                  To be successful, you must correctly file and handle your bankruptcy case. The rules are very
need to file this page.                  technical, and a mistake or inaction may affect your rights. For example, your case may be
                                         dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                         hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                         firm if your case is selected for audit. If that happens, you could lose your right to file another
                                         case, or you may lose protections, including the benefit of the automatic stay.
                                         You must list all your property and debts in the schedules that you are required to file with the
                                         court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                         in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                         property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                         also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                         case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                         cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                         Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

                                         If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                         hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                         successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                         Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                         be familiar with any state exemption laws that apply.

                                         Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                         consequences?
                                          No
                                          Yes
                                         Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                         inaccurate or incomplete, you could be fined or imprisoned?
                                          No
                                          Yes
                                         Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                          No
                                          Yes. Name of Person_____________________________________________________________________.
                                                    Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).



                                         By signing here, I acknowledge that I understand the risks involved in filing without an attorney. I
                                         have read and understood this notice, and I am aware that filing a bankruptcy case without an
                                         attorney may cause me to lose my rights or property if I do not properly handle the case.


                                        8_______________________________________________              8______________________________
                                            Signature of Debtor 1                                       Signature of Debtor 2

                                         Date                _________________                          Date             _________________
                                                             MM / DD / YYYY                                              MM / DD / YYYY

                                         Contact phone ______________________________________           Contact phone    ________________________________

                                         Cell phone          ______________________________________     Cell phone       ________________________________

                                         Email address ______________________________________           Email address    ________________________________



  Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                    page 
               Case 22-50073                     Doc 1          Filed 02/15/22            Entered 02/15/22 20:26:52                   Page 10 of 14


 Fill in this information to identify your case:

 Debtor 1           Ho Wan                                       Kwok
                   __________________________________________________________________
                        First Name                Middle Name                 Last Name

 Debtor 2               ________________________________________________________________
 (Spouse, if filing) First Name                   Middle Name                 Last Name


 United States Bankruptcy Court for the: __________    District of __________
                                         District of Connecticut

 Case number            ___________________________________________
  (If known)
                                                                                                                                                   Check if this is an
                                                                                                                                                     amended filing


2IILFLDO)RUP104
For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims Against You and Are Not Insiders                          12/15

If you are an individual filing for bankruptcy under Chapter 11, you must fill out this form. If you are filing under Chapter 7, Chapter 12, or
Chapter 13, do not fill out this form. Do not include claims by anyone who is an insider. Insiders include your relatives; any general partners;
relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an officer, director, person in
control, or owner of 20 percent or more of their voting securities; and any managing agent, including one for a business you operate as a sole
proprietor. 11 U.S.C. § 101. Also, do not include claims by secured creditors unless the unsecured claim resulting from inadequate collateral
value places the creditor among the holders of the 20 largest unsecured claims.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information.


 Part 1:        List the 20 Unsecured Claims in Order from Largest to Smallest. Do Not Include Claims by Insiders.



                                                                                                                                            Unsecured claim

 1                                                                                                 Litigation
                                                                  What is the nature of the claim? ____________________________                 (approx) 254,000,000.00
                                                                                                                                           $____________________________
       Pacific Alliance Asia Opportunity
      __________________________________________
      Creditor’s Name                                             As of the date you file, the claim is: Check all that apply.
       C/O O’Melveney & Myers, LLP
      __________________________________________
                                                  Contingent
      Number     Street                           Unliquidated
                                                 
      __________________________________________  Disputed
       7 Times  Square
                                                  None of the above apply
       New York                 NY 10065
      __________________________________________
      City                               State      ZIP Code
                                                                  Does the creditor have a lien on your property?
       Stuart Sarnoff, Esq                        No
                                                 
      __________________________________________
      Contact                                     Yes. Total claim (secured and unsecured):                      $_____________________

      ____________________________________
                                                                          Value of security:                  - $_____________________
      Contact phone
                                                                          Unsecured claim                         $_____________________



 2                                                                                                 Litigation Funding
                                                                  What is the nature of the claim? ____________________________              (approx) 21,000,000.00
                                                                                                                                           $____________________________
       Golden Spring New York
      __________________________________________
      Creditor’s Name                                             As of the date you file, the claim is: Check all that apply.
       162 E. 64th Street                                          Contingent
                                                                  
      __________________________________________
      Number               Street                                  Unliquidated
      __________________________________________                   Disputed
                                                                   None of the above apply
                                                                  
       New York                 NY 10605
      __________________________________________
      City                               State      ZIP Code
                                                                  Does the creditor have a lien on your property?
       Max Krasner                                No
      __________________________________________
      Contact                                     Yes. Total claim (secured and unsecured):                      $_____________________

      ____________________________________
                                                                          Value of security:                  - $_____________________
      Contact phone
                                                                          Unsecured claim                         $_____________________




Official Form 104          For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                               page 1
               Case 22-50073                    Doc 1         Filed 02/15/22                Entered 02/15/22 20:26:52                    Page 11 of 14

Debtor 1        Ho  Wan                                      Kwok
                _______________________________________________________                                       Case number (if known)_____________________________________
                 First Name      Middle Name            Last Name


                                                                                                                                                Unsecured claim

 3 __________________________________________
   Rui Ma                                                                                            Litigation
                                                                    What is the nature of the claim? ____________________________                            20,000,000
                                                                                                                                             $____________________________
     Creditor’s Name
      750 Lexington Avenue - 25th Floor
     __________________________________________                     As of the date you file, the claim is: Check all that apply.
     Number            Street                                        Contingent
     C/O Arkin Solbakken, LLP
     __________________________________________                      Unliquidated
                                                                    
                                                                     Disputed
     New York                  NY     10022
     __________________________________________                      None of the above apply
     City                               State      ZIP Code
                                                                    Does the creditor have a lien on your property?
      Robert C. Angelillo
     __________________________________________
                                                 No
     Contact                                     Yes. Total claim (secured and unsecured):                         $_____________________

     ____________________________________
                                                                            Value of security:                  - $_____________________
     Contact phone                                                          Unsecured claim                         $_____________________

 4 __________________________________________
   Cheng Jian Wu Jian She                                                                            Litigation
                                                                    What is the nature of the claim? ____________________________
                                                                                                                                                          14,898483.90
                                                                                                                                             $____________________________
     Creditor’s Name
                                                                    As of the date you file, the claim is: Check all that apply.
     136-20 38th Avenue, Suite 3D
     __________________________________________                      Contingent
     Number            Street

     C/O Law Office of Ning Ye, Esq.                                 Unliquidated
     __________________________________________                      Disputed
                                                                    
     Flushing                  NY     11354                          None of the above apply
     __________________________________________
     City                               State      ZIP Code         Does the creditor have a lien on your property?
                                                                     No
     Ning Ye, Esq.
     __________________________________________                      Yes. Total claim (secured and unsecured):     $_____________________
     Contact
                                                                            Value of security:                  - $_____________________
     ____________________________________                                   Unsecured claim                         $_____________________
     Contact phone


 5 __________________________________________
   Ning Ye                                                                                           Litigation
                                                                    What is the nature of the claim? ____________________________
                                                                                                                                                             12,000,000
                                                                                                                                             $____________________________
     Creditor’s Name
                                                                    As of the date you file, the claim is: Check all that apply.
     135-11 38th Avenue
     __________________________________________
     Number            Street
                                                 Contingent
     C/O   Arkin Solbakken,    LLP               Unliquidated
     __________________________________________  Disputed
                                                
     New   York                NY     10022
     __________________________________________
                                                 None of the above apply
     City                               State      ZIP Code         Does the creditor have a lien on your property?
                                                                     No
     Robert C. Angelillo
     __________________________________________                      Yes. Total claim (secured and unsecured):     $_____________________
                                                                                                                - $_____________________
     Contact
                                                                            Value of security:
     ____________________________________
     Contact phone                                                          Unsecured claim                         $_____________________

 6 __________________________________________
   Guo Baosheng                                                                                      Litigation
                                                                    What is the nature of the claim? ____________________________
                                                                                                                                                             12,000,000
                                                                                                                                             $____________________________
     Creditor’s Name
                                                                    As of the date you file, the claim is: Check all that apply.
     135-11 38th Avenue
     __________________________________________
     Number            Street                                        Contingent
     C/O Law Office of Ning Ye, Esq.                                 Unliquidated
     __________________________________________                      Disputed
                                                                    
     Flushing                  NY     11354
     __________________________________________
                                                                     None of the above apply
     City                               State      ZIP Code         Does the creditor have a lien on your property?
                                                                     No
     Ning Ye, Esq.
     __________________________________________                      Yes. Total claim (secured and unsecured):     $_____________________
                                                                                                                - $_____________________
     Contact
                                                                            Value of security:
     ____________________________________
     Contact phone                                                          Unsecured claim                         $_____________________

 7 Yang Lan and Wu Zheng                                                                             Litigation                                               10,000,000
                                                                                                                                             $____________________________
                                                                    What is the nature of the claim? ____________________________
   __________________________________________
     Creditor’s Name                                                As of the date you file, the claim is: Check all that apply.
      750 Lexington Avenue - 25th Floor
     __________________________________________                      Contingent
     Number            Street
                                                                     Unliquidated
     C/O Arkin Solbakken, LLP
     __________________________________________                      Disputed
                                                                    
                                                                     None of the above apply
     New York                  NY     10022
     __________________________________________
     City                               State      ZIP Code         Does the creditor have a lien on your property?
                                                                     No
     Robert C. Angelillo
     __________________________________________                      Yes. Total claim (secured and unsecured):     $_____________________
     Contact
                                                                            Value of security:                  - $_____________________
     ____________________________________
     Contact phone                                                          Unsecured claim                         $_____________________


  Official Form 104          For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                   page 2
               Case 22-50073                    Doc 1         Filed 02/15/22                Entered 02/15/22 20:26:52                    Page 12 of 14

Debtor 1         Ho  Wan                                      Kwok
                 _______________________________________________________                                      Case number (if known)_____________________________________
                 First Name      Middle Name            Last Name


                                                                                                                                               Unsecured claim

 8 __________________________________________
   Hong Qi Qu                                                                                        Litigation
                                                                    What is the nature of the claim? ____________________________
                                                                                                                                                          9,809,422.71
                                                                                                                                             $____________________________
     Creditor’s Name
                                                                    As of the date you file, the claim is: Check all that apply.
     136-20 38th Avenue, Suite 3D
     __________________________________________
     Number            Street                    Contingent
     C/O   Kevin  Tung,  Esq.                    Unliquidated
     __________________________________________ 
                                                 Disputed
     Flushing                  NY    11354
     __________________________________________
                                                 None of the above apply
     City                               State      ZIP Code         Does the creditor have a lien on your property?
                                                                     No
     Kevin Tung, Esq.
     __________________________________________                      Yes. Total claim (secured and unsecured):     $_____________________
                                                                                                                - $_____________________
     Contact
                                                                            Value of security:
     ____________________________________
     Contact phone                                                          Unsecured claim                         $_____________________

 9 __________________________________________
   Nan Tong Si Jian                                                                                  Litigation
                                                                    What is the nature of the claim? ____________________________
                                                                                                                                                          5,568,522.66
                                                                                                                                             $____________________________
     Creditor’s Name
                                                                    As of the date you file, the claim is: Check all that apply.
     136-20 38th Avenue, Suite 3D
     __________________________________________
     Number            Street                                        Contingent
     C/O Kevin Tung, Esq.                                            Unliquidated
     __________________________________________                      Disputed
                                                                    
     Flushing                  NY 11354
     __________________________________________
                                                                     None of the above apply
     City                               State      ZIP Code         Does the creditor have a lien on your property?
                                                                     No
     Kevin Tung, Esq.
     __________________________________________                      Yes. Total claim (secured and unsecured):     $_____________________
                                                                                                                - $_____________________
     Contact
                                                                            Value of security:
     ____________________________________
     Contact phone                                                          Unsecured claim                         $_____________________

10 __________________________________________
   Jian Gong                                                                                         Litigation
                                                                    What is the nature of the claim? ____________________________
                                                                                                                                                          5,380,262.32
                                                                                                                                             $____________________________
     Creditor’s Name
                                                                    As of the date you file, the claim is: Check all that apply.
     136-20 38th Avenue, Suite 3D
     __________________________________________                      Contingent
     Number            Street

     C/O Kevin Tung, Esq.                                            Unliquidated
     __________________________________________                      Disputed
                                                                    
     Flushing                  NY 11354                              None of the above apply
     __________________________________________
     City                               State      ZIP Code         Does the creditor have a lien on your property?
                                                                     No
     Kevin Tung, Esq.
     __________________________________________                      Yes. Total claim (secured and unsecured):     $_____________________
     Contact
                                                                            Value of security:                  - $_____________________
     ____________________________________                                   Unsecured claim                         $_____________________
     Contact phone


11 __________________________________________
   Yan Zhao                                                                                          Litigation
                                                                    What is the nature of the claim? ____________________________                             3,000,000
                                                                                                                                             $____________________________
     Creditor’s Name

     135-11 8th Ave                                                 As of the date you file, the claim is: Check all that apply.
     __________________________________________
     Number            Street                                        Contingent
     C/O Law Office of Ning Ye, Esq.
     __________________________________________
                                                                     Unliquidated
                                                                     Disputed
                                                                    
     Flushing                  NY 11354
     __________________________________________
                                                                     None of the above apply
     City                               State      ZIP Code         Does the creditor have a lien on your property?

     Ning Ye, Esq.                                                   No
     __________________________________________                      Yes. Total claim (secured and unsecured):     $_____________________
     Contact

     ____________________________________
                                                                            Value of security:                  - $_____________________
     Contact phone                                                          Unsecured claim                         $_____________________

12                                                                                                   Litigation
                                                                    What is the nature of the claim? ____________________________                         1,571,530.36
                                                                                                                                             $____________________________
     Yua Hua Zhuang Shi
     __________________________________________
     Creditor’s Name                                                As of the date you file, the claim is: Check all that apply.
     136-20 38th Avenue, Suite 3D
     __________________________________________
                                                                     Contingent
     Number            Street                                        Unliquidated
     C/O Kevin Tung, Esq.
     __________________________________________
                                                                     Disputed
                                                                    
                                                                     None of the above apply
     Flushing                  NY 11354
     __________________________________________                     Does the creditor have a lien on your property?
     City                               State
                                                 No
                                                   ZIP Code


     Kevin   Tung,  Esq.                         Yes. Total claim (secured and unsecured):                         $_____________________
     __________________________________________
     Contact
                                                                            Value of security:                  - $_____________________
                                                                            Unsecured claim                         $_____________________
     ____________________________________
     Contact phone




     Official Form 104          For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                page 3
                Case 22-50073                    Doc 1         Filed 02/15/22                Entered 02/15/22 20:26:52                    Page 13 of 14

Debtor 1          Ho Wan                                        Kwok
                  _______________________________________________________                                      Case number (if known)_____________________________________
                  First Name       Middle Name           Last Name


                                                                                                                                               Unsecured claim

13 __________________________________________
   Liehong Zhuang/Xiao Yan Zhu                                                                        Litigation
                                                                     What is the nature of the claim? ____________________________
                                                                                                                                                               1,005,000
                                                                                                                                              $____________________________
      Creditor’s Name
                                                                     As of the date you file, the claim is: Check all that apply.
      224 West 35th Street, 11th Floor
      __________________________________________
      Number            Street                    Contingent
      C/O   Trexler &  Zhang,  LLP                Unliquidated
      __________________________________________
                                                  Disputed
                                                 
      New   York                NY    10001
      __________________________________________
                                                  None of the above apply
      City                               State      ZIP Code         Does the creditor have a lien on your property?
                                                                      No
      Jonathan T. Trexler, Esq.
      __________________________________________                      Yes. Total claim (secured and unsecured):     $_____________________
                                                                                                                 - $_____________________
      Contact
                                                                             Value of security:
      ____________________________________
      Contact phone                                                          Unsecured claim                         $_____________________

14 __________________________________________
   Weican Meng/Boxun, Inc.                                                                            Litigation
                                                                     What is the nature of the claim? ____________________________
                                                                                                                                                               1,000,000
                                                                                                                                              $____________________________
      Creditor’s Name
                                                                     As of the date you file, the claim is: Check all that apply.
      750 Lexington Avenue, 25th Floor
      __________________________________________
      Number     Street                           Contingent
      C/O   Arkin Solbakken,    LLP               Unliquidated
      __________________________________________
                                                  Disputed
                                                 
      New   York                NY    10022
      __________________________________________
                                                  None of the above apply
      City                               State      ZIP Code         Does the creditor have a lien on your property?
                                                                      No
      Robert C. Angelillo
      __________________________________________                      Yes. Total claim (secured and unsecured):     $_____________________
                                                                                                                 - $_____________________
      Contact
                                                                             Value of security:
      ____________________________________
      Contact phone                                                          Unsecured claim                         $_____________________

15 __________________________________________
   Samuel Nunberg                                                                                     Litigation
                                                                     What is the nature of the claim? ____________________________
                                                                                                                                                               1,000,000
                                                                                                                                              $____________________________
      Creditor’s Name
                                                                     As of the date you file, the claim is: Check all that apply.
      363 Seventh Ave, 5th Floor
      __________________________________________                      Contingent
      Number            Street

      C/O Nesenoff & Miltenberg, LLP                                  Unliquidated
      __________________________________________                      Disputed
                                                                     
      New York                  NY 10001                              None of the above apply
      __________________________________________
      City                               State      ZIP Code         Does the creditor have a lien on your property?
                                                                      No
      Andrew T. Miltenberg, Esq.
      __________________________________________                      Yes. Total claim (secured and unsecured):     $_____________________
      Contact
                                                                             Value of security:                  - $_____________________
      ____________________________________                                   Unsecured claim                         $_____________________
      Contact phone


16 __________________________________________
   Lamp Capital, LLC                                                                                  Litigation Loan
                                                                     What is the nature of the claim? ____________________________
                                                                                                                                                                 1,000,000
                                                                                                                                              $____________________________
      Creditor’s Name
                                                                     As of the date you file, the claim is: Check all that apply.
      One Commerce Plaza
      __________________________________________
      Number            Street                                        Contingent
      99 Washington Avenue                                            Unliquidated
      __________________________________________
                                                                      Disputed
      Albany                    NY 12231                              None of the above apply
                                                                     
      __________________________________________
      City                               State      ZIP Code         Does the creditor have a lien on your property?
                                                                      No
      C/O NYS, Secretary of State
      __________________________________________                      Yes. Total claim (secured and unsecured):     $_____________________
                                                                                                                 - $_____________________
      Contact
                                                                             Value of security:
      ____________________________________
      Contact phone                                                          Unsecured claim                         $_____________________

17 Jun Chen aka Jonathan Ho                                                                           Litigation
                                                                     What is the nature of the claim? ____________________________                             1,000,000
                                                                                                                                              $____________________________
   __________________________________________
      Creditor’s Name                                                As of the date you file, the claim is: Check all that apply.
      41-25 Kissena Blvd, Suite 112
      __________________________________________                      Contingent
      Number            Street
                                                                      Unliquidated
      C/O Wayne Wei Zhu, Esq
      __________________________________________                     
                                                                     [ Disputed
                                                                      None of the above apply
      Flushing                  NY 11355
      __________________________________________                     Does the creditor have a lien on your property?
      City                               State      ZIP Code
                                                                      No
      Wayne Wei Zhu
      __________________________________________                      Yes. Total claim (secured and unsecured):     $_____________________
      Contact
                                                                             Value of security:                  - $_____________________
      ____________________________________
      Contact phone
                                                                             Unsecured claim                         $_____________________


Official Form 104          For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                    page 4
                Case 22-50073                          Doc 1          Filed 02/15/22                Entered 02/15/22 20:26:52                    Page 14 of 14

Debtor 1          Ho  Wan                                      Kwok
                  _______________________________________________________                                             Case number (if known)_____________________________________
                    First Name           Middle Name            Last Name


                                                                                                                                                     Unsecured claim

18 Yue Hua Zhu Shi                                                                                           Litigation
                                                                            What is the nature of the claim? ____________________________                            981,501.72
                                                                                                                                                     $____________________________
   __________________________________________
      Creditor’s Name
                                                                            As of the date you file, the claim is: Check all that apply.
      136-20 38th Avenue, Suite 3D
      __________________________________________                             Contingent
      Number             Street
                                                                             Unliquidated
      C/O Kevin Tung, Esq.
      __________________________________________                            
                                                                             Disputed
      Flushing                  NY 11354                                     None of the above apply
      __________________________________________
      City                                     State       ZIP Code         Does the creditor have a lien on your property?
                                                                             No
      Kevin Tung, Esq.
      __________________________________________                             Yes. Total claim (secured and unsecured):     $_____________________
      Contact
                                                                                    Value of security:                  - $_____________________
      ____________________________________
      Contact phone
                                                                                    Unsecured claim                         $_____________________



                                                                                                             Litigation
                                                                            What is the nature of the claim? ____________________________
19                                                                                                                                                                      430,000
      Jia Li Wang
      __________________________________________                                                                                                     $____________________________
      Creditor’s Name
                                                                            As of the date you file, the claim is: Check all that apply.
      335 Madison Avenue, 12th Floor
      __________________________________________
      Number             Street                   Contingent
      C/O   Thompson     Hine                     Unliquidated
      __________________________________________
                                                 
                                                  Disputed
      New   York                NY     10017
      __________________________________________
                                                  None of the above apply
      City                                     State       ZIP Code
                                                                            Does the creditor have a lien on your property?
       Brian P. Lanciault, Esq
      __________________________________________
                                                  No
      Contact                                     Yes. Total claim (secured and unsecured):                                $_____________________

      ____________________________________
                                                                                    Value of security:                  - $_____________________
      Contact phone                                                                 Unsecured claim                         $_____________________


                                                                                                             Litgiation
                                                                            What is the nature of the claim? ____________________________
20                                                                                                                                                                      319,130
                                                                                                                                                     $____________________________

                                                                            As of the date you file, the claim is: Check all that apply.
       WA&HF, LLC/Ruizeng An
      __________________________________________
                                                  Contingent
      Creditor’s Name                             Unliquidated
       41    Madison       Avenue, 31st Floor
      __________________________________________
                                                 
                                                  Disputed
      Number          Street                      None of the above apply
       C/O AFN Law
      __________________________________________
                                                                            Does the creditor have a lien on your property?
      New York                  NY 10010
      __________________________________________                             No
      City                                     State       ZIP Code
                                                                             Yes. Total claim (secured and unsecured):     $_____________________
      Angus Ni, Esq.
      __________________________________________
                                                                                    Value of security:                  - $_____________________
      Contact                                                                       Unsecured claim                         $_____________________

      ____________________________________
      Contact phone




 Part 2:         Sign Below




     Under penalty of perjury, I declare that the information provided in this form is true and correct.



 8 V+R:DQ.ZRN
      ______________________________________________                              8   ______________________________________________
      Signature of Debtor 1                                                           Signature of Debtor 2

                
      Date _________________                                                           Date _________________
             MM /       DD   /    YYYY                                                       MM /   DD /   YYYY



Official Form 104             For Individual ChaptHr 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                      page 5
             Print                                     Save As...                                                                                               Reset
